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 DEFENDANT:       GREGORY LOPEZ

 YOB:             1993

 COMPLAINT        ______ Yes     __X___ No
 FILED?

 OFFENSE(S):      Count 1:
                  18 U.S.C. § 2251(a) and (e) (Production of Child Pornography)

                  Count 2:
                  18 U.S.C. § 2251(d)(1)(A) and (e) (Advertisement of Child Pornography)

                  Count 3:
                  18 U.S.C. § 2252A(a)(1) and (b)(1) (Transportation of Child Pornography)

                  Count 4:
                  18 U.S.C. § 2252A(a)(5)(B) and (b)(2) (Possession of Child Pornography)

 LOCATION OF      El Paso County, Colorado, and Elsewhere
 OFFENSE:

 PENALTY:         Count 1: If it is determined that the defendant has no prior sex-related
                  convictions, the penalty is NLT 15 years, NMT 30 years; NMT $250,000 fine,
                  or both; supervised release of NLT 5 years, NMT life; $100 Special
                  Assessment. However, pursuant to 18 U.S.C. § 3559(e), if the defendant
                  has a prior sex conviction in which a minor was the victim, and because this
                  offense constitutes a Federal sex offense in which a minor is the victim, the
                  mandatory sentence is NLT Life, NMT $250,000 fine, or both; $100 Special
                  Assessment. If that provision does not apply, and if the defendant has a
                  prior conviction under Chapters 110, 71, 109A, 117, Title 18 section 1591, or
                  under section 920 of title 10 of the United States Code (article 120 of the
                  Uniform Code of Military Justice), or under the law of any State relating to
                  aggravated sexual abuse, sexual abuse, or abusive sexual contact involving
                  a minor or ward, or the production, possession, receipt, mailing, sale,
                  distribution, shipment or transportation of child pornography, or sex
                  trafficking of children, the penalty is NLT 25 years, NMT 50 years; NMT
                  $250,000 fine, or both; supervised release of NLT 5 years, NMT life; $100
                  Special Assessment; with two such convictions, the penalty is NLT 35 years,
                  NMT life; NMT $250,000 fine, or both; supervised release of NLT 5 years,
                  NMT life; $100 Special Assessment. For offenses under Chapters 77, 109A,
                  110, 117 committed on or after May 29, 2015, $5,000 Special Assessment if
                  the defendant is a non-indigent person. For offenses committed on or after
                  December 7, 2018, a Special Assessment of no more than $50,000 if
                  convicted of child pornography production as defined by 18 U.S.C. Section
                  2259(c)(1), which includes offenses under 18 U.S.C. Section 2251(a).

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                  Count 2: If it is determined that the defendant has no prior sex-related
                  convictions, the penalty is NLT 15 years, NMT 30 years; NMT $250,000 fine,
                  or both; supervised release of NLT 5 years, NMT life; $100 Special
                  Assessment. However, pursuant to 18 U.S.C. § 3559(e), if the defendant
                  has a prior sex conviction in which a minor was the victim, and because this
                  offense constitutes a Federal sex offense in which a minor is the victim, the
                  mandatory sentence is NLT Life, NMT $250,000 fine, or both; $100 Special
                  Assessment. If that provision does not apply, and if the defendant has a
                  prior conviction under Chapters 110, 71, 109A, 117, Title 18 section 1591, or
                  under section 920 of title 10 of the United States Code (article 120 of the
                  Uniform Code of Military Justice), or under the law of any State relating to
                  aggravated sexual abuse, sexual abuse, or abusive sexual contact involving
                  a minor or ward, or the production, possession, receipt, mailing, sale,
                  distribution, shipment or transportation of child pornography, or sex
                  trafficking of children, the penalty is NLT 25 years, NMT 50 years; NMT
                  $250,000 fine, or both; supervised release of NLT 5 years, NMT life; $100
                  Special Assessment; with two such convictions, the penalty is NLT 35 years,
                  NMT life; NMT $250,000 fine, or both; supervised release of NLT 5 years,
                  NMT life; $100 Special Assessment. For offenses under Chapters 77, 109A,
                  110, 117 committed on or after May 29, 2015, $5,000 Special Assessment if
                  the defendant is a non-indigent person. For offenses committed on or after
                  December 7, 2018, a Special Assessment of no more than $35,000 if
                  convicted of any trafficking in child pornography offense as defined by 18
                  U.S.C. Section 2259(c)(3), which includes offenses under 18 U.S.C.
                  Sections 2251(d).

                  Count 3: If it is determined that the defendant has no prior sex-related
                  convictions, NLT 5 years, NMT 20 years; NMT $250,000 fine, or both;
                  supervised release of NLT 5 years, NMT life; $100 Special Assessment.
                  However, if defendant has a prior conviction under Chapters 110, 71, 109A,
                  117, Title 18 section 1591, or under section 920 of title 10 (article 120 of the
                  Uniform Code of Military Justice), or under the laws of any State relating to
                  aggravated sexual abuse, sexual abuse, or abusive sexual conduct involving
                  a minor or ward, or the production, possession, receipt, mailing, sale,
                  distribution, shipment, or transportation of child pornography, or sex
                  trafficking of children, NLT 15 years, NMT 40 years; NMT $250,000 fine, or
                  both, supervised release of NLT 5 years, NMT life; $100 Special
                  Assessment. For offenses under Chapters 77, 109A, 110, 117 committed
                  on or after May 29, 2015, $5,000 Special Assessment if the defendant is a
                  non-indigent person. For offenses committed on or after December 7, 2018,
                  a Special Assessment of no more than $35,000 if convicted of any trafficking
                  in child pornography offense as defined by 18 U.S.C. Section 2259(c)(3),
                  which includes offenses under 18 U.S.C. Sections 2252A(a)(1).

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                     Count 4: If it is determined that the defendant has no prior sex-related
                     convictions, NMT 10 years; NMT $250,000 fine, or both; supervised release
                     of NLT 5 years and NMT life; $100 Special Assessment. If defendant has a
                     prior conviction under Chapters 110, 71, 109A, or 117 of Title 18; or under
                     Section 920 of Title 10 (Article 120 of the Uniform Code of Military Justice);
                     or under the laws of any State relating to aggravated sexual abuse, sexual
                     abuse, or abusive sexual conduct involving a minor or ward, or the
                     production, possession, receipt, mailing, sale, distribution, shipment or
                     transportation of child pornography, NLT 10 years, NMT 20 years; NMT
                     $250,000 fine, or both; supervised release of NLT 5 years, NMT life; $100
                     Special Assessment. For offenses under Chapters 77, 109A, 110, 117
                     committed on or after May 29, 2015, $5,000 Special Assessment if the
                     defendant is a non-indigent person. For offenses committed on or after
                     December 7, 2018, a Special Assessment of no more than $17,000 if
                     convicted of 18 U.S.C. Section 2252A(a)(5).

                     Forfeiture Allegation

 AGENTS:             Special Agent Chris Egner
                     ICE HSI

                     Task Force Officer Mark Enomoto
                     ICE HSI

 AUTHORIZED          Alecia L. Riewerts
 BY:                 Assistant U.S. Attorney


ESTIMATED TIME OF TRIAL:

 X five days

THE GOVERNMENT

X   will seek detention in this case based on 18 U.S.C. § 3142(f)(1)(A)

The statutory presumption of detention is applicable to this defendant.




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